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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


     SECURITIES AND EXCHANGE                         §
     COMMISSION                                      §
                                                     §   Civil Action No. 4:16-CV-00246
                                                     §   Judge Mazzant
     v.                                              §
                                                     §
     WILLIAM E. MAPP, III                            §

                                        FINAL JUDGMENT

           The Court has considered Plaintiff Securities and Exchange Commission’s Motion to Enter

    Final Judgment (Dkt. #191) as to Defendant William E. Mapp, III.

           Pursuant to the Memorandum Opinion and Order entered on this date and the jury verdict

    delivered on December 13, 2017, the Court hereby renders final judgment.        Based on the

    Memorandum Opinion and Order and the verdict, it is ORDERED, ADJUDGED, AND

    DECREED that judgment is entered in favor of Plaintiff Securities and Exchange Commission.

           IT IS THEREFORE ORDERED that Defendant William E. Mapp, III, pay a civil penalty

.   of $22,500 pursuant to 15 U.S.C. §§ 77t(d) and 78u(d)(3).

           All relief not previously granted is hereby DENIED.

           The Clerk is directed to CLOSE this civil action.

           IT IS SO ORDERED.
           SIGNED this 25th day of July, 2018.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
